                            Case 1:22-mj-00127-ZMF Document 1 Filed 06/02/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                                    UNITED STATES DISTRICT COURT
                                                                                                            for the
                                                                                           District of &ROXPELD

                    United States of America                                                                  )
                               v.                                                                             )
Brian Scott Jackson, (DOB: XXXXXXXXX)                                                                         )       Case No.
Adam Lejay Jackson, (DOB: XXXXXXXX)                                                                           )
                                                                                                              )
                                                                                                              )
                                                                                                              )
                                  Defendant(s)


                                                                          CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                          January 6, 2021                                   in the county of                              in the
                                 LQWKH'LVWULFWRI                        &ROXPELD , the defendant(s) violated:

            Code Section                                                                                                Offense Description
            18 U.S.C. § 231(a)(3)- Civil Disorder
            18 U.S.C. § 111(a)(1)- Assaulting, Resisting, or Impeding Certain Officer
            18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
            18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
            18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds
            40 U.S.C. § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.


                                                                                                                                         Complainant’s signature

                                                                                                                                 Courtney McLaughlin , Officer
                                                                                                                                         Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                                                                     Zia M. Faruqui
Date:               06/02/2022
                                                                                                                                            Judge’s signature

City and state:                                    :DVKLQJWRQ'&                                                         Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                                                         Printed name and title
